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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,

          Plaintiff,
                                                                    No. 02 CR 1050-2
                v.                                                Judge James B. Zagel

JAMES MARCELLO,

          Defendant.

                           MEMORANDUM OPINION AND ORDER

          The Government has moved for entry of a preliminary order of forfeiture against

Defendant James Marcello, to which Marcello objects. The order seeks forfeiture against

Marcello for the amount of illegal income generated by the conspiracy during his membership in

it, namely $20,258,556.00, which represents the total amount of proceeds acquired and

maintained by the Chicago Outfit since the 1960's in violation of 18 U.S.C. § 1963(a)(1)-(3).

The Government seeks to hold Marcello jointly and severally responsible for this amount.

          Marcello raises several objections to the Government’s motion. First, Marcello objects to

the amount of forfeiture sought because “[a]t no time did the government obtain a superceding

indictment providing notice that the government would seek forfeiture of funds in excess of

$10,000,000.” The Third Superseding Indictment returned against Marcello includes a section

titled “FORFEITURE ALLEGATION”, in which Marcello was notified that as a result of the

allegations contained in Count One concerning a violation of 18 U.S.C. § 1962(d), “all . . .

interests, securities, claims, and property and contractual rights [acquired and maintained in

violation of the charged offense are] subject to forfeiture.” The Forfeiture Allegation further

states:
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               The interests of the defendants, jointly and severally subject to
               forfeiture to the United States pursuant to Title 18 United States
               Code, Section 1963(a)(1), (a)(2), and (a)(3) include but are not
               limited to:

                       (a) $10,000,000;

                   (b) As to defendants JAMES MARCELLO and MICHAEL
               MARCELLO only:

                               Real property at 5533 West 25th Street, Cicero,
                               Illinois, being more particularly described as: [legal
                               description given].

(emphasis added).

       Federal Rule of Criminal Procedure 7(c)(2) provides that “[n]o judgment of forfeiture

may be entered in a criminal proceeding unless the indictment or the information provides notice

that the defendant has an interest in property that is subject to forfeiture in accordance with the

applicable statute.” A plain reading of the Forfeiture Allegation supports the conclusion that

Marcello was notified that he would be liable to forfeit all proceeds and interests generated in

relation to the Outfit’s criminal activities, and that such interests would include, among other

things, a cash amount equal or possibly greater than $10,000,000.

       Second, Marcello objects to the Government’s calculation of the forfeiture amount sought

because, Marcello claims, the Government’s calculations are of gross, rather than net, proceeds.

Specifically, Marcello objects to the Government’s calculations because they fail to give him

credit for various “overhead costs” including the costs of purchasing and maintaining the

gambling machines, salaries to M&M’s employees, and compensation to bar owners, each of

which were incurred in the course of running Outfit-controlled M&M Amusements’ video

gambling operations.


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       Marcello is correct that RICO forfeiture contemplates net, not gross, proceeds. United

States v. Masters, 924 F.2d 1362, 1369-70 (7th Cir. 1991) (“the statute refers [to] net, not gross,

revenues - profits, not sales, for only the former are gains”). However, the Government’s

forfeiture calculations are based on net proceeds: M&M paid no compensation to the restaurant

bar owners - instead there was a 50/50 split in the unlawful proceeds between M&M

Amusements and the bar and restaurant owners (who at trial testified to this arrangement,

generally under grants of immunity). In addition, the Government’s figures incorporate M&M

Amusements expenditures on machine maintenance and employee salaries because the analysis

was based on M&M accountant Cheryl Canty’s testimony and M&M’s tax filings. Those tax

filings incorporated the various costs of doing business described above, and thus they were

correspondingly accounted for in the Government’s forfeiture total.

       Next, Marcello claims that the Government failed to submit evidence connecting

Marcello to certain of the money-making criminal acts of the Outfit, the proceeds of which are

included in the total forfeiture figure sought. However, as a convicted, high-ranking co-

conspirator throughout the life of the charged conspiracy, Marcello must be held jointly and

severally liable for all of the itemized illegal proceeds obtained by the Outfit during his

membership in it. United States v. Masters, 924 F.2d 1362, 1369-70 (7th Cir. 1991); see also

United States v. Genova, 333 F.3d 750, 761 (7th Cir. 2003). Morever, there was no evidence

presented that Marcello ever withdrew from the conspiracy. See United States v. Hargrove, 508

F.3d 445, 449 (7th Cir. 2007) (“Inactivity alone does not constitute a withdrawal; to withdraw

from a conspiracy, the defendant must ‘terminate completely his active involvement in the




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conspiracy, as well as take affirmative steps to defeat or disavow the conspiracy’s purpose.’”)

(internal quotation and citation omitted).

       Lastly, Marcello argues that any forfeiture judgment should be offset by any prior

forfeiture payments made by Outfit members between 1970 and the present. Specifically,

Marcello argues that any forfeiture he is required to pay should be offset by the amount of

forfeiture paid by the defendants in United States v. Carlisi, No. 92 CR 1064. This argument has

no merit. As I have previously ruled, the conviction here is for an offense distinct from the

offense charged in Carlisi - any payment of forfeiture in that case cannot be deducted from the

amount Marcello owes in forfeiture as a result of his conviction here.

       For the reasons stated, the Government’s motion for entry of preliminary order of

forfeiture against Defendant James Marcello is granted.

                                                     ENTER:




                                                     James B. Zagel
                                                     United States District Judge

DATE: April 6, 2009




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